      Case 4:19-cv-00301-RH-MJF Document 5 Filed 06/30/19 Page 1 of 3




            UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

JEFF GRUVER, et al.,

      Plaintiffs,

v.                                         Case No. 1:19cv121-MW/GRJ

KIM A. BARTON,

      Defendants.
______________________________/

            ORDER OF TRANSFER AND CONSOLIDATION
                   WITH PRIOR-FILED CASE

      Multiple cases were filed Friday evening challenging S.B. 7066. The first

case, Jones v. DeSantis, et al., No. 4:19cv300, was filed in the Tallahassee

Division at 6:27 p.m. Central Standard Time and was randomly assigned to

Chief Judge Mark Walker. The second case, Gruver, et al., v. Barton, et al., No.

1:19cv121, was filed in the Gainesville Division at 6:49 p.m. Central Standard

Time and was randomly assigned to Chief Judge Mark Walker. The third case,

Raysor, et al. v. Lee, No. 4:19cv301, was filed in the Tallahassee Division at

10:02 p.m. Central Standard Time and was randomly assigned to Judge Robert

Hinkle.

      This Court can sua sponte transfer cases in the interest of judicial

economy. “For the convenience of parties and witnesses, in the interest of

justice, a district court may transfer any civil action to any other district or
                                       1
      Case 4:19-cv-00301-RH-MJF Document 5 Filed 06/30/19 Page 2 of 3



division where it might have been brought.” 28 U.S.C. § 1404(a). Venue is

appropriate in a judicial district “in which any defendant resides, if all

defendants are residents of the State in which the district is located” or “in

which a substantial part of the events or omissions giving rise to the claim

occurred.” 28 U.S.C. § 1391(b).

      Under the time-honored intradistrict first-filed practice, the first case,

No. 4:19cv300, is the controlling case. On this Court’s own motion, it is

transferring Gruver, et al., v. Barton, et al., No. 1:19cv121, to the Tallahassee

Division.

      Additionally, consolidation is appropriate because the two cases

randomly assigned to Judge Walker “involve a common question of law or fact.”

Fed. R. Civ. P. 42(a). By separate order, Judge Hinkle has reassigned Raysor,

et al., v. Lee, No. 4:19cv301 to the undersigned in the interests of judicial

economy and in accordance with this Court’s standard procedure in closely

related matters. See Raysor, et al., v. Lee, No. 4:19cv301, ECF No. 4. Likewise,

4:19cv301 shall be consolidated. Accordingly,

      IT IS ORDERED:

      1. The Clerk is directed to take all necessary steps to transfer Gruver, et

            al., v. Barton, et al., No. 1:19cv121, from the Gainesville Division to

            the Tallahassee Division. When the transfer is effective, the Clerk

            shall close the Gainesville file.

                                           2
Case 4:19-cv-00301-RH-MJF Document 5 Filed 06/30/19 Page 3 of 3



2. The Clerk is directed to take all necessary steps to consolidate Case

   Nos. 4:19cv300, 1:19cv121, and 4:19cv301 for the purposes of case

   management. They will be maintained on a common docket under

   Consolidated Case No. 4:19cv300. The Clerk is directed to connect all

   lawyers from the consolidated cases to Case No. 4:19cv300. A paper

   that is applicable to any of the consolidated case must be filed in the

   common docket and must not be filed separately in any other case.

SO ORDERED on June 30, 2019.
                              s/Mark E. Walker               ____
                              Chief United States District Judge




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